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                    Exhibit 27
         to Declaration of Rachel Doughty
Case
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      YUHAAVIATAM OF SAN MANUEL NATION,
 13   a federally recognized Indian tribe, also federally
      recognized as SAN MANUEL BAND OF MISSION INDIANS
 14

 15                       UNITED STATES DISTRICT COURT
 16                FOR THE CENTRAL DISTRICT OF CALIFORNIA
 17                        EASTERN DIVISION – RIVERSIDE
 18   BLUETRITON BRANDS, INC.,                    Case No.: 2:24-cv-09720-JGB-DTB
 19                                Plaintiff,     DECLARATION OF ALEXANDRA
                                                  MCCLEARY IN SUPPORT OF
 20         v.                                    MOTION TO INTERVENE AND
                                                  MOTION FOR PRELIMINARY
 21   UNITED STATES FOREST SERVICE,               INJUNCTION
 22   RANDY MOORE, in his official capacity       Hearing Date: February 3, 2025
      as Chief of the U.S. Forest Service,        Hearing Time: 9:00 AM
 23                                               Courtroom:      1
      CHRISTOPHER FRENCH, in his                  Judge: Hon. Jesus G. Bernal
 24   official capacity as Deputy Chief for the
      National Forest System of the U.S. Forest   Action Filed: August 6, 2024
 25   Service,
 26   JENNIFER EBERLEIN, in her official
      capacity as Regional Forester for the
 27   Pacific Southwest Region of the
      U.S. Forest Service,
 28

      DECLARATION OF ALEXANDRA MCCLEARY IN SUPPORT OF MOTION
      TO INTERVENE AND MOTION FOR PRELIMINARY INJUNCTION   -1-
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      DANELLE HARRISON, in her official
  1   capacity as Forest Supervisor of the San
      Bernardino National Forest of the
  2   U.S. Forest Service,
  3   MICHAEL NOBLES, in his official
      capacity as Front Country District Ranger
  4   of the U. S. Forest Service,
  5                               Defendants.
  6
      YUHAAVIATAM OF SAN MANUEL
      NATION, a federally recognized Indian
  7
      tribe, also federally recognized as SAN
      MANUEL BAND OF MISSION
  8
      INDIANS,

  9
                [Proposed] Plaintiff-Intervenor.

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      DECLARATION OF ALEXANDRA MCCLEARY IN SUPPORT OF MOTION
      TO INTERVENE AND MOTION FOR PRELIMINARY INJUNCTION   -2-
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  1
      I, ALEXANDRA MCCLEARY, declare as follows:
  2
            1.     I am the Director of Cultural Resources Management for the
  3
      Yuhaaviatam of San Manuel Nation, a federally recognized Indian tribe, also
  4
      federally recognized as the San Manuel Band of Mission Indians (the Nation), and
  5
      on whose behalf I submit this declaration. The facts set forth herein are based on
  6
      my personal knowledge, and if called as a witness, I could and would testify
  7
      competently thereto.
  8
            2.     I have a Bachelor of Arts in Anthropology from Barnard College,
  9
      Columbia University and a Master of Arts and a Doctorate of Philosophy in
 10
      Anthropology from the University of California, Berkeley. I began my employment
 11
      with the Nation in August 2019 as its archeologist and assumed my role as its
 12
      Director of Cultural Resources Management in April 2024. In this capacity, I
 13
      supervise a staff that includes an ethnobotanist, several archaeologists, a cultural
 14
      lands manager, tribal archivist, repatriation, and collections manager, and
 15
      educational program manager. I oversee the Tribal Historic Preservation Office
 16
      which is responsible for assuming the role of a State Historic Preservation Officer
 17
      on Tribal lands. As such, I am responsible for preserving the Nation’s historical
 18
      records, cultural artifacts and culturally significant properties, and protecting the
 19
      Nation’s interests within its ancestral territory. I oversee consultations on projects
 20
      within the Nation’s ancestral lands that impact the Nation’s cultural resources
 21
      pursuant to federal and state law, including but not limited to the National Historic
 22
      Preservation Act and California Environmental Quality Act. In my work, I am
 23
      familiar with the scope of the Nation’s ancestral territory, having familiarized
 24
      myself with historical documents demonstrating where the Nation’s predecessors
 25
      lived prior to colonization. Arrowhead Springs and Strawberry Canyon lie within
 26
      the Nation’s ancestral territory and are considered culturally significant sacred sites,
 27
      as defined in Executive Order 13007.
 28

      DECLARATION OF ALEXANDRA MCCLEARY IN SUPPORT OF MOTION
      TO INTERVENE AND MOTION FOR PRELIMINARY INJUNCTION   -3-
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  1            3.   Citizens of the Nation are Yuhaaviatam, which is a clan, or sub-set, of
  2   a larger ethnic group most commonly known as the Serrano people. The term
  3   “Serrano” was originally employed by Spanish colonists. However, the indigenous
  4   term for Serrano people is “Maara’yam.” Prior to European contact, there used to
  5   be many clans of Maara’yam (Serrano) people, all connected by language, kinship,
  6   and culture, while maintaining their own distinct political sovereignty.
  7   Yuhaaviatam clan territory lies within the San Bernadino Mountains. Yuhaaviatam
  8   translates to “People of the Pines.”
  9            4.   While the Nation’s traditional clan territory lies within the San
 10   Bernardino mountains, Maara’yam (Serrano) ancestral territory covered over 7.4
 11   million acres of land, including present-day Antelope Valley on the west, southwest
 12   Mojave Desert to the north, portions of San Gabriel and San Bernadino mountains
 13   in the center, the Inland Empire to the south, and the City of Twentynine Palms to
 14   the east.
 15            5.   The Nation believes that, as the Yuhaaviatam clan of Maara’yam
 16   (Serrano), their Creator Kü̱ktac bestowed on them the responsibility to steward all
 17   of Maara’yam (Serrano) ancestral territory.
 18            6.   In 1891, the U.S. Congress passed the Act for the Relief of the Mission
 19   Indians in the State of California (Act), leading to administrative agency action that
 20   reaffirmed the Nation as a federally recognized Indian tribe with inherent rights as a
 21   sovereign nation. The Act also led to the establishment of the San Manuel
 22   Reservation, whereby the federal government reserved 655-acres with little usable
 23   land or water just above the City of Highland. The Nation’s name acknowledges
 24   their historical exposure to the Spanish Mission system and honors Maara’yam
 25   (Serrano) ancestor Santos Manuel, who led his people from the genocidal campaign
 26   that forced them from their Serrano homelands, like Arrowhead Springs, in years
 27   prior.
 28

      DECLARATION OF ALEXANDRA MCCLEARY IN SUPPORT OF MOTION
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  1            7.    The Arrowhead Springs property is an approximately 2,000-acre
  2   property in the Waterman Canyon of San Bernadino and is located close to the San
  3   Manuel Reservation. In an effort to reclaim and steward ancestral lands, the Nation
  4   purchased Arrowhead Springs property in May 2016.
  5            8.    The Arrowhead Springs property is part of the Nation’s aboriginal
  6   homelands. Indeed, the Nation’s ancestors resided in an ancient village known as
  7   Apuiva’t located in the vicinity of what is today known as the Arrowhead Springs
  8   property. The Arrowhead Springs property includes a portion of the hillside that
  9   features a large arrowhead-shaped natural landmark. The Nation owns the
 10   southernmost tip of the Arrowhead; the rest is owned by the United States Forest
 11   Service. The Nation is seeking a land exchange with the United States Forest
 12   Service for land that would include the remaining portion of the Arrowhead. The
 13   Nation’s ancestors used the natural hot springs located throughout the Arrowhead
 14   Springs property, which were considered by them to be uniquely sacred and
 15   medicinal. The cold water flowing through the property, including Strawberry
 16   Creek, was also important to Maara’yam (Serrano) people through time, due to the
 17   dependability of this water source and its capacity to support a variety of flora and
 18   fauna.
 19            9.    The current Arrowhead Springs hotel was built in 1939. The hotel was
 20   a vacation destination for Hollywood stars and the elite in its early days. However,
 21   the Arrowhead Springs property was commissioned as a Naval Hospital during
 22   World War II. After the war concluded, the Arrowhead Springs Hotel returned to its
 23   use as a hotel. In 1962, the Arrowhead Springs property was purchased by Campus
 24   Crusade for Christ to be used as its headquarters. The Nation purchased the
 25   property from Campus Crusade for Christ in May 2016.
 26            10.   It is my professional opinion that the Arrowhead Springs property is
 27   eligible for listing on the National Historic Preservation Act’s National Register of
 28   Historic Places due to its deep, enduring, and multifaceted history. Most
      DECLARATION OF ALEXANDRA MCCLEARY IN SUPPORT OF MOTION
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  1   significantly, it is eligible as a Traditional Cultural Property, as it is significant to
  2   the Maara’yam (Serrano) people’s beliefs, heritage, and cultural identity, and as
  3   being a place where the San Manuel community has traditionally carried out
  4   cultural and religious practices. The archaeological footprint on the property
  5   resulting from thousands of years of indigenous occupation is significant for its
  6   ability to yield important information about the history of Maara’yam (Serrano)
  7   people as well as later historical occupation. Since being developed by Anglo-
  8   European settlers including David Noble Smith in the 1860s, the property is eligible
  9   for its association with the international “health seeker” and sanitorium movement
 10   of the mid-19th to early 20th centuries. This movement is an important historical
 11   and cultural developmental theme which was driven in large part by the railroad-
 12   inspired Southern California real estate boom of the late 1880s. The current hotel
 13   and many adjacent structures built between 1939 and1955 are closely associated
 14   with the Southern California entertainment industry and the Golden Age of
 15   Hollywood. Both the hotel’s interior and exterior design embody the distinctive
 16   characteristics of Paul Revere Williams and Dorothy Draper, respectively, two
 17   widely celebrated masters of design who defined the glamorous Hollywood
 18   Regency style of the era.
 19      I declare under penalty of perjury under the laws of the United States that the
 20      foregoing is true and correct.
 21

 22          Executed this 2nd day of January, 2025 at San Manuel Reservation.
 23

 24                                                    __________________________
 25                                                    ALEXANDRA MCCLEARY
                                                   Director of Cultural Resources
 26                                                Management for the Yuhaaviatam of
                                                   San Manuel Nation
 27

 28

      DECLARATION OF ALEXANDRA MCCLEARY IN SUPPORT OF MOTION
      TO INTERVENE AND MOTION FOR PRELIMINARY INJUNCTION   -6-
